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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISON

                                                          §
    In re:                                                §            Chapter 11
                                                          §
    CORE SCIENTIFIC, INC., et al.,                        §            Case No. 22-90341 (DRJ)
                                                          §
                                                          §            (Jointly Administered)
                          Debtors.1.                      §


        NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
           BY THE BOARD OF DIRECTORS OF CORE SCIENTIFIC, INC.

TO ALL PARTIES:

        PLEASE TAKE NOTICE that the undersigned hereby appears as counsel for the Board

of Directors of Core Scientific, Inc. (the “Board”), a party in interest in the above-styled case and

requests, as provided in 11 U.S.C. §§1109(b) and 342, and/or Rules 2002, 9007 and 9010(b) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), that all notices given or required

to be given in the above captioned case(s), and all papers served or required to be served upon the

foregoing party-in-interest, also be given to and served, whether electronically or otherwise, upon:

                                           Peter C. Lewis, Esq.
                                         Scheef & Stone, L.L.P.
                                   500 North Akard Street, Suite 2700
                                           Dallas, Texas 75201
                                      Telephone: (214) 706-4200
                                       Facsimile: (214) 706-4242
                                  E-Mail: peter.lewis@solidcounsel.com




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC (6677);
RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions, VII,
LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300,
Austin, Texas 78704.


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       PLEASE TAKE FURTHER NOTICE that the foregoing request includes notices and

papers referred to in the Bankruptcy Rules, and additionally includes, without limitation, notices

of any application, complaint, demand, hearing, motion, order, pleading or request, formal or

informal, whether transmitted or conveyed by mail, telephone or otherwise.

       PLEASE TAKE FURTHER NOTICE that the undersigned additionally requests that the

above-styled debtor, its counsel, and the Clerk of the Bankruptcy Court place the foregoing names

and addresses on any mailing matrix or list of creditors to be prepared or existing in the above

styled matter.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Service of Papers shall not be deemed or construed as a waiver of any right, claim, defense, or

argument, at law or in equity, the Board has or may have in this case or any proceeding relating to

this case, including, but not limited to, any right to (a) request withdrawal of the reference, (b)

demand a trial by jury, and/or (c) contest jurisdiction or venue.


Dated: January 24, 2023                       Respectfully submitted,

                                              SCHEEF & STONE, L.L.P.

                                              By: /s/ Peter C. Lewis
                                                  Peter C. Lewis
                                                  Texas State Bar No. 12302100
                                                  peter.lewis@solidcounsel.com
                                                  500 N. Akard, Suite 2700
                                                  Dallas, Texas 75201
                                                  Telephone: (214) 706-4200
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                                              ATTORNEYS FOR THE BOARD OF
                                              DIRECTORS OF CORE SCIENTIFIC, INC.




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Notice of

Appearance and Request for Service of Papers was served via electronic notification to the persons

and/or entities registered with CM/ECF on this the 24th day of January, 2023.

                                                    /s/ Peter C. Lewis
                                                    Peter C. Lewis




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